Case 1:00-cv-03110-EGS Document 8 Filed 06/12/01 Page 1 of 2

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

DAVID M. ROEDER,
CHARLES W. SCOTT,
DON A. SHARER,
BARBARA B. ROSEN and
ARIANA B. ROSEN

Case No. 1:00CV03110CEGS)
Judge: Emmet G. Sullivan

Deck Type: Civil General

 

)
)
)
)
)
) Date Stamp:
individually and on behalf )
of a class of similarly )
situated individuals )
)
Plaintiffs, )
)
v. )
)
THE ISLAMIC REPUBLIC OF IRAN, )
FILED
And JUN 1 2 2001
E MINISTRY OF FOREIGN AFFAIRS NANCY MAYER WHITTINGTON, CLERK
THE MINIS U.S. DISTRICT COURT
Defendants. )
)
PROPOSED ORDER
UNOPPOSED

Upon consideration of the Plaintiffs, Motion for Class Certification and for Publication of Class
Notice in the above-captioned case and any opposition thereto, it is hereby this day / / Vs 4 of
dO v re c , 2001, ORDERED that plaintiffs’ motion for Class Certification is GRANTED, and it

is,

 

 

\ UNITED STATES DISTRICT JUDGE
Case 1:00-cv-03110-EGS Document 8 Filed 06/12/01 Page 2 of 2

Copies to:

Terrance G. Reed
120 North St. Asaph
Alexandria, VA 22314

V. Thomas Lankford

William Coffield

Lankford & Coffield, PLLC
120 North Saint Asaph Street
Alexandria, VA 22314

The Islamic Republic of Iran
Ministries of Foreign Affairs
Khomeini Avenue

United Nations Street
Tehran, Iran

Ministries of Foreign Affairs
Khomeini Avenue

United Nations Street
Tehran, Iran
